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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0582V
                                          UNPUBLISHED


    THE ESTATE OF APOLINAR HASEM                                Chief Special Master Corcoran
    PERDOMO FELIZ, by and through
    Administrator, BIENCHIS Y. ESTEVA-                          Filed: November 25, 2020
    FELIZ,
                                                                Special Processing Unit (SPU);
                         Petitioner,                            Damages Decision Based on Proffer;
    v.                                                          Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


John Richard Taylor, Zaytoun Law Firm, Raleigh, NC, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

        On April 17, 2019, the Estate of Apolina Hasem Perdomo Feliz, by and through
Administrator Biechis Y.L Esteva-Feliz, filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that, due to a March 12, 2017 influenza (“flu”) vaccine,
Apolinar Hasem Perdomo Feliz suffered from Guillain-Barre syndrome (“GBS”), which led
to his subsequent death on April 21, 2017 Petition at 1, 9-12. The case was assigned to
the Special Processing Unit of the Office of Special Masters.



1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On May 19, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. On November 24, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded compensation as
detailed below. Proffer at 2-3. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, I award Petitioner:

        A. A lump sum payment of $425,000.00, representing the statutory death
           benefit ($250,000.00) and past pain and suffering ($175,000.00), in the
           form of a check payable to Petitioner; and

        B. A lump sum payment of $43,192.51, representing compensation for
           satisfaction of the State of North Carolina Medicaid lien, in the form of a
           check payable jointly to Petitioner and:

                            Division of Health Benefits
                            Office of the Controller
                            2022 Mail Service Center
                            Raleigh, NC 27699-2022
                            ID #: 949453747P

            Petitioner agrees to endorse this payment to Division of Health Benefits for
            satisfaction of the Medicaid lien.

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 THE ESTATE OF APOLINAR HASEM  )
 PERDOMO FELIZ, by and through )
                               )
 Administrator, BIENCHIS Y. ESTEVA-
 FELIZ,                        )                    No. 19-582V
                               )                    Chief Special Master Corcoran
           Petitioner,         )                    ECF
 v.                            )                    SPU
                               )
 SECRETARY OF HEALTH AND HUMAN )
 SERVICES,                     )
                               )
           Respondent.         )
                               )


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 17, 2019, Bienchis Y. Esteva-Felix (“petitioner”), as the Administrator of the

Estate of Apolinar Hasem Perdomo Felix (“decedent”), filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34, as amended

(“Vaccine Act” or “Act”). Petitioner alleges that the decedent sustained Guillain-Barré

syndrome (“GBS”) after an influenza (“flu”) vaccination on March 12, 2017, and that his GBS

resulted in his death on April 21, 2017. GBS is an injury listed on the Vaccine Injury Table

(“Table”) for the flu vaccine.

       On May 15, 2020, respondent filed his Rule 4(c) report, conceding that entitlement to

compensation was appropriate under the terms of the Vaccine Act. The Chief Special Master

issued a Ruling on Entitlement on May 19, 2020, finding that petitioner was entitled to vaccine

compensation.




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I.    Compensation for Vaccine Injury-Related Items

       Based upon the evidence of record, respondent proffers that petitioner, as the

administrator of the Estate of Apolinar Hasem Perdomo Felix, be awarded the following amounts

of compensation:

       A.       A payment of $250,000.00, which represents compensation the statutory death
                benefit, see 42 U.S.C. § 300aa-15(a)(2);

       B.       A payment of $175,000.00, which represents compensation for past pain and
                suffering, see 42 U.S.C. § 300aa-15(a)(4); and

       C.       A payment of $43,192.51, which represents full satisfaction of any right of
                subrogation, assignment, claim, lien, or cause of action the State of North
                Carolina may have against any individual as a result of any Medicaid payments
                the North Carolina Program has made to or on behalf of Apolinar Hasem
                Perdomo Felix from the date of his eligibility for benefits through the date of his
                death as a result of his vaccine-related injury suffered on or about March 12,
                2017, under Title XIX of the Social Security Act, see 42 U.S.C. § 300aa-15 (g-h).

       These amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       The vaccine-injured person in this case, Apolinar Hasem Perdomo Felix, is deceased.

Petitioner, Bienchis Y. Esteva-Felix, provided respondent with “Restricted Letters of

Administration” from the State of North Carolina that authorized her “to pursue the Wrongful

Death action,” but not to recover any assets, on behalf of the decedent’s estate.

       All payments to petitioner should be issued to her as the administrator of Apolinar Hasem

Perdomo Felix’s Estate. If petitioner is not authorized by a court of competent jurisdiction to

receive funds on behalf of the Estate of Apolinar Hasem Perdomo Felix at the time payment is to

be made, any such payment shall be made to the party or parties appointed by a court of

competent jurisdiction to serve as administrator of and to receive funds on behalf of Apolinar



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Hasem Perdomo Felix’s estate, upon submission of written document of such appointment to the

Secretary.

       Respondent recommends the Chief Special Master’s decision and the Court’s judgment

award the following:

       A. A lump sum payment of $425,000.00 representing the statutory death benefit
          ($250,000.00) and past pain and suffering ($175,000.00), in the form of a check
          payable to petitioner.

       B. A lump sum payment of $43,192.51,representing compensation for satisfaction of the
          State of North Carolina Medicaid lien, in the form of a check payable jointly to
          petitioner and:

                                  Division of Health Benefits
                                    Office of the Controller
                                   2022 Mail Service Center
                                   Raleigh, NC 27699-2022
                                      ID #: 949453747P

       Petitioner agrees to endorse this payment to Division of Health Benefits for satisfaction

of the Medicaid lien.




                                                    Respectfully submitted,

                                                    JEFFREY BOSSERT CLARK
                                                    Acting Assistant Attorney General

                                                    C. SALVATORE D’ALESSIO
                                                    Acting Director
                                                    Torts Branch, Civil Division

                                                    CATHARINE E. REEVES
                                                    Deputy Director
                                                    Torts Branch, Civil Division

                                                    ALEXIS B. BABCOCK
                                                    Assistant Director
                                                    Torts Branch, Civil Division



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                                          s/Traci R. Patton
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                                          U.S. Department of Justice
                                          P.O. Box 146
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                                          Washington, DC 20044-0146
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Dated: November 24, 2020




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